Case 8:12-cv-01994-DOC-JCG        Document 222-2     Filed 10/24/24   Page 1 of 3 Page
                                      ID #:3126


  1   DAVIS LAW OFFICE
      D. Jason Davis (SBN 193225)
  2   222 W. 6th Street, Suite 400
      San Pedro, CA 90731
  3   Phone: (424) 256-6279
      Email: jason@davislo.com
  4
      Attorneys For Plaintiffs and Judgment Creditors
  5   Big Bird Holdings, LLC and Jonathan David Parker
  6

  7

  8                      UNITED STATES DISTRICT COURT
  9     CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
 10   DAVID PARKER and BIG BIRD                    CASE NO.: 8:12-cv-01994-DOC-JCG
      HOLDINGS, LLC,
 11
                   Plaintiffs,                     [PROPOSED] ORDER
 12   vs.                                          RENEWING JUDGMENT
 13   ALEXANDER MARINE CO., LTD.,
 14                Defendant.
 15

 16

 17

 18         On February 2, 2015, judgment was entered in favor of Plaintiffs David
 19   Parker and Big Bird Holdings, LLC and against Defendant Alexander Marine Co.,
 20   Ltd. in the amount of $3,931,059.71. On March 21, 2019, the judgment was
 21   amended to include prejudgment interest in the amount of $6,508.11, and
 22   attorneys’ fees in the amount of $273,534.25. The total amount of the judgment
 23   entered on March 21, 2019 was $4,204,593.96. On September 3, 2024, the
 24   judgment was amended to substitute Jonathan David Parker as the successor-in-
 25   interest of David Parker as a result of the death of David Parker. Big Bird
 26   Holdings, LLC and Jonathan David Parker, by their attorneys, Davis Law Ofice,
 27   have applied to renew the judgment in this matter pursuant to F.R.Civ.P. 69(a) and
 28   California Code of Civil Procedure §§ 683.110 through 683.320.


                                 [PROPOSED] ORDER RENEWING JUDGMENT
Case 8:12-cv-01994-DOC-JCG        Document 222-2      Filed 10/24/24   Page 2 of 3 Page
                                      ID #:3127


  1         The Court will order renewal of the judgment in this matter in the initial
  2   amount plus accrued interest and post-judgment expenses, calculated as follows:
  3   a. Total judgment (as entered or last renewed)               $4,204,593.96
  4   b. Costs after judgment (CCP 685.090)                        $0.00
  5   c. Subtotal (add a and b)                                    $4,204,593.96
  6   d. Credits to principal (after credit to interest)           $0.00
  7   e. Subtotal (subtract d from c)                              $4,204,593.96
  8   f. Accrued interest remaining due per CCP 695.210(b)         $73,650.36
  9   g. Fee for filing renewal application                        $0.00
 10   h. Total renewed judgment (add e, f, and g)                  $4,278,244.32
 11

 12         Accordingly, it is hereby ORDERED:
 13         1.     The judgment in this matter is renewed for a period of ten (10) years
 14   from the date of this order in the amount of 4,278,244.32.
 15         2.     The Clerk of Court shall enter in the docket a renewed judgment.
 16         3.     The Clerk of Court shall mail to Defendant Alexander Marine Co.,
 17   Ltd., at its last known addresses, a copy of this order, the renewed judgment, and
 18   Notice of Renewal of Judgment in the form prepared by Plaintiffs. Both
 19   Defendants’ last known address is No. 1 Jin Fu Road, Qian-Zhen District,
 20   Kaohsiung, Taiwan 806.
 21

 22   IT IS SO ORDERED.
 23

 24   Dated: __________________
 25                                            By: _____________________________
 26                                                 Honorable David O. Carter
                                                    UNITED STATES DISTRICT
 27                                                 COURT JUDGE

 28


                                                  2
                               [PROPOSED] ORDER RENEWING JUDGMENT
Case 8:12-cv-01994-DOC-JCG       Document 222-2      Filed 10/24/24   Page 3 of 3 Page
                                     ID #:3128


  1                             CERTIFICATE OF SERVICE
  2
             Pursuant to Local Rule, I, the filer of this document, attest that all other
  3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  4   content and have authorized the filing. I certify that on October 24, 2024, I
      electronically filed the foregoing [PROPOSED] ORDER RENEWING
  5   JUDGMENT with the Clerk of the Court for the United States District Court,
  6   Central District of California, by using the CM/ECF system. Participants in the
      case who are registered CM/ECF users will be served by the CM/ECF system.
  7

  8

  9
       Dated: October 24, 2024                 DAVIS LAW OFFICE
 10

 11                                            By:   /s/ D. Jason Davis
                                                  D. Jason Davis, Esq.
 12                                            Attorneys for Plaintiffs and Judgment
                                               Creditors Big Bird Holdings, LLC and
 13                                            Jonathan David Parker
 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                 3
                              [PROPOSED] ORDER RENEWING JUDGMENT
